Case 1:22-pr-09999-UNA Document 16-1 Filed 05/11/22 Page 1 of 77




                    ATTACHMENT
                              A
                  Redacted Docket Materials
      Case
    Case    1:22-pr-09999-UNA
         1:20-pr-00077-RAL     Document
                           *SEALED*     16-1 Filed
                                    Document       05/11/22
                                              1 Filed        PagePage
                                                       04/09/20   2 of 1
                                                                       77of 9




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                           PR No. 20-pr-00077
ORDER FOR AN ACCOUNT SERVICED BY
NTREPID CORPORATION FOR
INVESTIGATION OF VIOLATIONS OF                              Filed Under Seal
18 U.S.C. 1030

Re erence: USAO Re                        Sub'ect Account:


                                       FIRST APPLICATION

        The United States of America, moving by and through Tejpal S. Chawla, its undersigned

counsel, respectfully submits under seal this ex parte application for an order pursuant to 18 U.S.0

§§ 3122 and 3123, authorizing the installation and use of pen register and trap and trace devices

("pen-trap devices") to record, decode, and/or capture dialing, routing, addressing, and signaling

information associated with each access to, and each communication to or from, computers

identified by internet protocol ("IP") addresses that are assigned to the Ntrepid Corporation

("Ntrepid") account (the "SUBJECT ACCOUNT") with the subscriber



                                                            In support of this application, the United

States asserts:

        1.        This is an application, made under 18 U.S.C. § 3122(a)(1), for an order under 18

U.S.C. § 3123 authorizing the installation and use of pen-trap devices.

        2.        Such an application must include three elements: (1) "the identity of the attorney

for the Government or the State law enforcement or investigative officer making the application";

(2) "the identity of the law enforcement agency conducting the investigation"; and (3) "a
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        16-1 Filed     04/09/20
                                                   05/11/22  PagePage  2 of 9
                                                                  3 of 77




certification by the applicant that the information likely to be obtained is relevant to an ongoing

criminal investigation being conducted by that agency.” 18 U.S.C. § 3122(b).

       3.      The undersigned applicant is an “attorney for the Government” as defined in Rule

1(b)(1) of the Federal Rules of Criminal Procedure.

       4.      The law enforcement agency conducting the investigation is the Federal Bureau of

Investigation (“FBI”).

       5.      The applicant hereby certifies that the information likely to be obtained by the

requested pen-trap devices is relevant to an ongoing criminal investigation being conducted by the

Agency.

                                         JURISDICTION

       6.      This Court has jurisdiction to issue the requested Order because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 3127. 18 U.S.C. § 3122(a)(1). Specifically, the

Court is a “district court of the United States . . . that – has jurisdiction over the offense being

investigated.” 18 U.S.C. § 3127(2)(A)(i). As discussed more fully below, acts or omissions in

furtherance of the offenses under investigation occurred within Washington, DC. See 18 U.S.C.

§ 3237, and the criminal offenses under investigation began or were committed upon the high seas,

or elsewhere out of the jurisdiction of any particular State or district. See 18 U.S.C. § 3238.

                                 ADDITIONAL INFORMATION

       7.      Other than the three elements described above, federal law does not require that an

application for an order authorizing or extending authorization for the installation and use of pen-

trap devices specify any facts. The following additional information is provided to demonstrate

that the order requested falls within this Court’s authority to authorize or extend authorization for

the installation and use of pen-trap devices under 18 U.S.C. § 3123(a)(1).



                                                 -2-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        16-1 Filed     04/09/20
                                                   05/11/22  PagePage  3 of 9
                                                                  4 of 77




       8.      A “pen register” is “a device or process which records or decodes dialing, routing,

addressing, or signaling information transmitted by an instrument or facility from which a wire or

electronic communication is transmitted.” 18 U.S.C. § 3127(3). A “trap and trace device” is “a

device or process which captures the incoming electronic or other impulses which identify the

originating number or other dialing, routing, addressing, and signaling information reasonably

likely to identify the source of a wire or electronic communication.” 18 U.S.C. § 3127(4).

       9.      In the traditional telephone context, pen register devices captured the destination

phone numbers of outgoing calls, while trap and trace devices captured the phone numbers of

incoming calls. Similar principles apply to other kinds of wire and electronic communications, as

described below.

       10.     The Internet is a global network of computers and other devices. Devices directly

connected to the Internet are identified by a unique number called an Internet Protocol, or “IP”

address. This number is used to route information between devices. Generally, when one device

requests information from a second device, the requesting device specifies its own IP address so

that the responding device knows where to send its response. An IP address is analogous to a

telephone number and can be recorded by pen-trap devices, and it indicates the online identity of

the communicating device without revealing the communication’s content. There are two types

of IP addresses: dynamic and static. A static IP address is one that is permanently assigned to a

given computer on a network. With dynamic IP addressing, however, each time a computer

establishes an Internet connection, that computer is assigned a different IP address.

       11.     A network is two or more computers or other devices connected to each other that

can exchange information with each other via some transmission method, such as by wires, cables,

or radio waves. The equipment that connects a computer or other device to the network is



                                                -3-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        16-1 Filed     04/09/20
                                                   05/11/22  PagePage  4 of 9
                                                                  5 of 77




commonly referred to as a network adapter. Most network adapters have a Media Access Control

(“MAC”) address assigned by the manufacturer of the adapter that is designed to be a unique

identifying number. An adapter’s unique MAC address allows for proper routing of

communications on a local area network and may be used for other purposes, such as

authentication of customers by some network service providers. Unlike a device’s IP address that

often changes each time a device connects to the Internet, a MAC address is fixed at the time of

manufacture of the adapter. Because the address does not change and is intended to be unique, a

MAC address can allow law enforcement to identify whether communications sent or received at

different times are associated with the same adapter.

       12.     On the Internet, data transferred between devices is not sent as a continuous stream,

but rather it is split into discrete packets. Generally, a single communication is sent as a series of

packets. When the packets reach their destination, the receiving device reassembles them into the

complete communication. Each packet has two parts: a header with routing and control

information, and a payload, which generally contains user data. The header contains non-content

information such as the packet’s source and destination IP addresses and the packet’s size.

       13.     In addition, different Internet applications are associated with different “port

numbers,” or numeric identifiers. The port number is transmitted along with any communication

using that application. For example, port 80 typically is associated with communications involving

the World Wide Web.

       14.     Ntrepid holds itself out as an “unconventional technology company” whose

products allow subscribers to conduct various online activities anonymously, through services that

are colloquially known as “anonymization” or “proxy” services. Those types of services allow

Ntrepid substribers to connect with computer servers owned by Ntrepid, and to connect with the



                                                 -4-
      Case
    Case    1:22-pr-09999-UNA
         1:20-pr-00077-RAL     Document
                           *SEALED*     16-1 Filed
                                     Document 1 Fi05/11/22   PagePage
                                                   led 04/09/20   6 of 77
                                                                       5 of 9




rest of the internet through Ntrepid's computer servers, so that the subcriber's activity appears to

have originated from Ntrepid's computers, rather than from the subscriber's own computers.

                                    THE RELEVANT FACTS

       15.     The United States government, including the FBI, is investigating suspected

violations of 18 U.S.C. § 1030(a)(5) (Computer Fraud and Abuse); 18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. §§ 951(a) (Unregistered Agent of a Foreign Government); 18 U.S.C. §2511(1)(a)

(Unlawful Interception of Electronic Communications); 18 U.S.C. 1956(a)(2)(A) (International

Money Laundering); and 18 U.S.C. § 371 (Conspiracy).

       16.     As part of that investigation, the FBI is investigating former members of the U.S.

intelligence community for illegally providing cyber capabilities and technical data to a foreign

entity and conducting offensive cyber intrusions against protected computers.

       17.                  is a corporate entity which is headquartered in the

                 "), and which performs services for a foreign government. MMI               which

employs a number of United States persons who are former members of the United States

intelligence community, has established and operated a platform through which                   can

carry out surveillance, including through offensive cyber intrusions. These offensive cybter

intrusions include gaining unauthorized access to protected computers and smartphones, for the

purpose of intercepting electronic communications, including communications of United States

persons and/or communications that are sent or received through United States computer servers.

       18.     The investigation involves suspected violations of 18 U.S.C. § 1343, including

suspected violations that involved interstate and international wire communications to and from

the District of Columbia.




                                                -5-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        16-1 Filed     04/09/20
                                                   05/11/22  PagePage  6 of 9
                                                                  7 of 77




       19.       The conduct being investigated involves use of accounts described in

Attachment A. To further the investigation, investigators need to obtain the dialing, routing,

addressing, and signaling information associated with communications sent to or from, the

SUBJECT ACCOUNT.

       20.       The pen-trap devices sought by this application will record, decode, and/or capture

dialing, routing, addressing, and signaling information associated with each access to, and with

each communication to or from, the SUBJECT ACCOUNT, including the date, time, and duration

of the communication, and the following, without geographic limit:

                Network addresses, including IP addresses and port numbers, associated with
                 access to, and communications to or from, the SUBJECT ACCOUNT;

                MAC addresses, including MAC addresses associated with access to the
                 SUBJECT ACCOUNT;

                Packet headers, including packet headers associated with access to the SUBJECT
                 ACCOUNT;

                Any unique identifiers associated with the device or devices used to access the
                 SUBJECT ACCOUNT; and

                Information regarding the source and destination network addresses, as well as
                 routes of transmission and size of communications, but not content.

                                   GOVERNMENT REQUESTS

       21.       For the reasons stated above, the United States requests that the Court enter an

Order extending the installation and use of pen-trap devices to record, decode, and/or capture the

dialing, routing, addressing, and signaling information described above for each access to, and

each communication to or from, the SUBJECT ACCOUNT, to include the date, time, and duration

of the communication, without geographic limit. The United States does not request and does not

seek to obtain the contents of any communications, as defined in 18 U.S.C. § 2510(8).




                                                 -6-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        16-1 Filed     04/09/20
                                                   05/11/22  PagePage  7 of 9
                                                                  8 of 77




       22.     The United States further requests that the Court authorize the foregoing installation

and use for a period of sixty days from the date of the Court’s Order, pursuant to 18 U.S.C. §

3123(c)(1).

       23.     The United States further requests, pursuant to 18 U.S.C. §§ 3123(b)(2) and

3124(a)-(b), that the Court order Ntrepid Corporation (hereinafter “Service Provider”) and any

other person or entity providing wire or electronic communication service in the United States

whose assistance may facilitate execution of the Order, furnish the Agency forthwith all

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service. Any entity providing such assistance shall be reasonably compensated by the

Agency, pursuant to 18 U.S.C. § 3124(c), for reasonable expenses incurred in providing facilities

and assistance in furtherance of the Order.

       24.     The United States further requests that the Court order the Service Provider and any

other person or entity whose assistance may facilitate execution of this Order to notify the applicant

and the Agency of any changes relating to the SUBJECT ACCOUNT, including changes to

subscriber information, and to provide prior notice to the applicant and the Agency before

terminating or changing service to the SUBJECT ACCOUNT.

       25.     The United States further requests that the Court order that the Agency and the

applicant have access to the information collected by the pen-trap devices as soon as practicable,

twenty-four hours per day, or at such other times as may be acceptable to them, for the duration of

the Order.

       26.     The United States further requests that the Court order that Attachment A, which is

incorporated by reference in the proposed Order and which identifies the name(s) of the person(s)



                                                 -7-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                               Document       1 Filed
                                        16-1 Filed     04/09/20
                                                   05/11/22  PagePage  8 of 9
                                                                  9 of 77




under investigation, remain under seal and withheld from service upon the Service Provider. The

information in Attachment A is not needed by the Service Provider, and doing so will help

safeguard both the privacy interests of unindicted and uncharged individuals and the integrity of

the government’s ongoing investigation. As the Court is aware, persons identified by law

enforcement as “subjects” at the investigative stage of a case may ultimately never be indicted or

charged with any crimes. Yet providing the identities of such persons to commercial entities as

“subjects” needlessly exposes those persons to non-law-enforcement entities, and risks further

exposure should service providers become careless with such information or themselves have that

information breached or “hacked” by other parties. At the same time, exposing the identities of

persons considered “subjects” to service providers also puts investigations at risk, inasmuch as

persons who become aware of their identification as “subjects” can flee and destroy evidence, etc.

To be sure, Section 3123(d) contemplates the sealing of the Court’s Order, and that service

providers will comply and keep the existence of the Order secret. But especially in the age of

“internet hacking,” it is unwise to impart identification information to third parties when that

information is simply not required by those third parties and its exposure risks needless harm.

       27.     The United States further requests, pursuant to 18 U.S.C. § 3123(d)(2), that the

Court order the Service Provider and any other person or entity whose assistance facilitates

execution of the Court’s Order, and their agents and employees, not to disclose in any manner,

directly or indirectly, by any action or inaction, the existence of this application and the Court’s

Order, the resulting pen-trap devices, or this investigation, except as necessary to effectuate the

Order, unless and until authorized by this Court, except that the Service Provider may disclose the

Order to an attorney for the Service Provider for the purpose of receiving legal advice.




                                                -8-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        1 Filed
                                       16-1 Filed      04/09/20
                                                  05/11/22  PagePage
                                                                 10 of977
                                                                        of 9




       28.     The United States further requests that this application and any resulting Order be

sealed until otherwise ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

       29.     The United States further requests that the Clerk of the Court provide the United

States Attorney’s Office with three certified copies of this application and the Court’s Order upon

request, and provide copies of the Order to the Agency upon request.

       30.     The foregoing is based on information provided to me in my official capacity by

agents of the Agency.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on the 7th day of February, 2020.

                                               Respectfully submitted,

                                               TIMOTHY J. SHEA
                                               United States Attorney
                                               DC Bar No. 437437

                                         By:            /s/ Tejpal S. Chawla
                                               Tejpal S. Chawla
                                               Assistant United States Attorney
                                               D.C. Bar 464012
                                               National Security Section
                                               555 4th Street, N.W., Room 4243
                                               Washington, D.C. 20530
                                               Office: 202-252-7106
                                               tejpal.chawla@usdoj.gov




                                                 -9-
      Case
   Case    1:22-pr-09999-UNA
        1:20-pr-00077-RAL     Document
                          *SEALED*     16-1 Filed
                                   Document  1-1 05/11/22   Page 11
                                                  Filed 04/09/20    of 77
                                                                 Page  1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                          PR No. 20-pr-00077
ORDER FOR AN ACCOUNT SERVICED BY
NTREPID CORPORATION FOR
INVESTIGATION OF VIOLATIONS OF                             Filed Under Seal
18 U.S.C. § 1030

                                             ORDER

       Tejpal S. Chawla, on behalf of the United States, has submitted an application pursuant to

18 U. S.C. §§ 3122 and 3123, requesting that the Court issue an Order authorizing the installation

and use of pen registers and trap and trace devices ("pen-trap devices") on computers identified

by internet protocol ("IP") addresses that are assigned to the Ntrepid Corporation account with the

subscriberl

                                                                            hereinafter "SUBJECT

ACCOUNT"), which is believed to be used by                          and its employees.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, [and others as yet unknown or not fully identified,] in connection with possible

violations of 18 U.S.C. § 1030(a)(5) (Computer Fraud and Abuse); 18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. §§ 951(a) (Unregistered Agent of a Foreign Government); 18 U.S.C. §2511(1)(a)

(Unlawful Interception of Electronic Communications); 18 U.S.C. 1956(a)(2)(A) (International

Money Laundering); and 18 U.S.C. § 371 (Conspiracy). The Court further finds that a sufficient

showing of good cause has been made for the continued sealing of Attachment A and for the

government's withholding of Attachment A from service upon the Service Provider, in order to

                                                -10-
   Case 1:20-pr-00077-RAL
      Case                *SEALED*
           1:22-pr-09999-UNA       Document
                              Document       1-1 05/11/22
                                       16-1 Filed Filed 04/09/20 Page
                                                            Page 12    2 of 5
                                                                    of 77




help ensure the privacy of the person(s) identified therein and the integrity of the government’s

investigation.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNT, including the date, time, and duration of the communication,

and the following, without geographic limit:

                Network addresses, including IP addresses and port numbers, associated with
                 access to, and communications to or from, the SUBJECT ACCOUNT;

                MAC addresses, including MAC addresses associated with access to the
                 SUBJECT ACCOUNT;

                Packet headers, including packet headers associated with access to the SUBJECT
                 ACCOUNT;

                Any unique identifiers associated with the device or devices used to access the
                 SUBJECT ACCOUNT; and

                Information regarding the source and destination network addresses, as well as
                 routes of transmission and size of communications, but not content.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

Ntrepid Corporation (hereinafter “Service Provider”) and any other person or entity providing wire

or electronic communication service in the United States whose assistance may, pursuant to 18

U.S.C. § 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;


                                                -11-
   Case 1:20-pr-00077-RAL
      Case                *SEALED*
           1:22-pr-09999-UNA       Document
                              Document       1-1 05/11/22
                                       16-1 Filed Filed 04/09/20 Page
                                                            Page 13    3 of 5
                                                                    of 77




         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

Service Provider until further order of the Court, and therefore shall be withheld from service upon

the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNT, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNT;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;




                                                -12-
   Case 1:20-pr-00077-RAL
      Case                *SEALED*
           1:22-pr-09999-UNA       Document
                              Document       1-1 05/11/22
                                       16-1 Filed Filed 04/09/20 Page
                                                            Page 14    4 of 5
                                                                    of 77




       IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).



                                                      ____________________________________
                                                      UNITED STATES MAGISTRATE JUDGE




                                               -13-
   Case
Case    1:22-pr-09999-UNA
     1:20-pr-00077-RAL     Document
                       *SEALED*     16-1 Filed
                                Document  1-1 05/11/22   Page 15
                                               Filed 04/09/20    of 77
                                                              Page  5 of 5




                            ATTACHMENT A
      Case
    Case    1:22-pr-09999-UNA
         1:20-pr-00077-RAL    Document
                           *SEALED*    16-1 Filed
                                    Document      05/11/22
                                              2 Filed       PagePage
                                                       04/13/20 16 of177
                                                                       of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                          PR No. 20-pr-00077
ORDER FOR AN ACCOUNT SERVICED BY
NTREPID CORPORATION FOR
INVESTIGATION OF VIOLATIONS OF                             Filed Under Seal
18 U.S.C. § 1030

                                             ORDER

       Tejpal S. Chawla, on behalf of the United States, has submitted an application pursuant to

18 U.S.C. §§ 3122 and 3123, requesting that the Court issue an Order authorizing the installation

and use of pen registers and trap and trace devices ("pen-trap devices") on computers identified

by internet protocol ("IP") addresses that are assigned to the Ntrepid Corporation account with the

subscriber

                                                                            (hereinafter "SUBJECT

ACCOUNT"), which is believed to be used by                          and its employees.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, [and others as yet unknown or not fully identified,] in connection with possible

violations of 18 U.S.C. § 1030(a)(5) (Computer Fraud and Abuse); 18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. §§ 951(a) (Unregistered Agent of a Foreign Government); 18 U.S.C. §2511(1)(a)

(Unlawful Interception of Electronic Communications); 18 U.S.C. 1956(a)(2)(A) (International

Money Laundering); and 18 U.S.C. § 371 (Conspiracy). The Court further finds that a sufficient

showing of good cause has been made for the continued sealing of Attachment A and for the

government's withholding of Attachment A from service upon the Service Provider, in order to

                                                -10-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        2 Filed
                                       16-1 Filed      04/13/20
                                                  05/11/22  PagePage
                                                                 17 of277
                                                                        of 5




help ensure the privacy of the person(s) identified therein and the integrity of the government’s

investigation.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNT, including the date, time, and duration of the communication,

and the following, without geographic limit:

                Network addresses, including IP addresses and port numbers, associated with
                 access to, and communications to or from, the SUBJECT ACCOUNT;

                MAC addresses, including MAC addresses associated with access to the
                 SUBJECT ACCOUNT;

                Packet headers, including packet headers associated with access to the SUBJECT
                 ACCOUNT;

                Any unique identifiers associated with the device or devices used to access the
                 SUBJECT ACCOUNT; and

                Information regarding the source and destination network addresses, as well as
                 routes of transmission and size of communications, but not content.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

Ntrepid Corporation (hereinafter “Service Provider”) and any other person or entity providing wire

or electronic communication service in the United States whose assistance may, pursuant to 18

U.S.C. § 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;


                                                -11-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        2 Filed
                                       16-1 Filed      04/13/20
                                                  05/11/22  PagePage
                                                                 18 of377
                                                                        of 5




         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

Service Provider until further order of the Court, and therefore shall be withheld from service upon

the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNT, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNT;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;




                                                -12-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
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                                       16-1 Filed      04/13/20
                                                  05/11/22  PagePage
                                                                 19 of477
                                                                        of 5




       IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

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                                                      UNITED STATES MAGISTRATE JUDGE




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                                          2 Filed       PagePage
                                                   04/13/20  20 of577
                                                                    of 5




                           ATTACHMENT A
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    Case    1:22-pr-09999-UNA
         1:20-pr-00077-RAL    Document
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                                    Document      05/11/22
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                                                       06/08/20  21 of177
                                                                        of 9




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                            PR No. 20-pr-00077
ORDER FOR AN ACCOUNT SERVICED BY
NTREPID CORPORATION FOR
INVESTIGATION OF VIOLATIONS OF                               Filed Under Seal
18 U.S.C. 1030

Re erence: USAO Re                        Sub'ect Account:


                                      SECOND APPLICATION

        The United States of America, moving by and through Tejpal S. Chawla, its undersigned

counsel, respectfully submits under seal this ex parte application for an order pursuant to 18 U.S.0

§§ 3122 and 3123, extending the installation and use of pen register and trap and trace devices

("pen-trap devices") to record, decode, and/or capture dialing, routing, addressing, and signaling

information associated with each access to, and each communication to or from, computers

identified by internet protocol ("IP") addresses that are assigned to the Ntrepid Corporation

("Ntrepid") account (the "SUBJECT ACCOUNT") with the subscriber



                                                             In support of this application, the United

States asserts:

        1.        This is an application, made under 18 U.S.C. § 3122(a)(1), for an order under 18

U.S.C. § 3123 extending the installation and use of pen-trap devices.

       2.         Such an application must include three elements: (1) "the identity of the attorney

for the Government or the State law enforcement or investigative officer making the application";

(2) "the identity of the law enforcement agency conducting the investigation"; and (3) "a
    Case 1:20-pr-00077-RAL
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            1:22-pr-09999-UNA       Document
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                                       16-1 Filed      06/08/20
                                                  05/11/22  PagePage
                                                                 22 of277
                                                                        of 9




certification by the applicant that the information likely to be obtained is relevant to an ongoing

criminal investigation being conducted by that agency.” 18 U.S.C. § 3122(b).

       3.      The undersigned applicant is an “attorney for the Government” as defined in Rule

1(b)(1) of the Federal Rules of Criminal Procedure.

       4.      The law enforcement agency conducting the investigation is the Federal Bureau of

Investigation (“FBI”).

       5.      The applicant hereby certifies that the information likely to be obtained by the

requested pen-trap devices is relevant to an ongoing criminal investigation being conducted by the

Agency.

                                         JURISDICTION

       6.      This Court has jurisdiction to issue the requested Order because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 3127. 18 U.S.C. § 3122(a)(1). Specifically, the

Court is a “district court of the United States . . . that – has jurisdiction over the offense being

investigated.” 18 U.S.C. § 3127(2)(A)(i). As discussed more fully below, acts or omissions in

furtherance of the offenses under investigation occurred within Washington, DC. See 18 U.S.C.

§ 3237, and the criminal offenses under investigation began or were committed upon the high seas,

or elsewhere out of the jurisdiction of any particular State or district. See 18 U.S.C. § 3238.

                                 ADDITIONAL INFORMATION

       7.      Other than the three elements described above, federal law does not require that an

application for an order authorizing or extending authorization for the installation and use of pen-

trap devices specify any facts. The following additional information is provided to demonstrate

that the order requested falls within this Court’s authority to authorize or extend authorization for

the installation and use of pen-trap devices under 18 U.S.C. § 3123(a)(1).



                                                 -2-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        4 Filed
                                       16-1 Filed      06/08/20
                                                  05/11/22  PagePage
                                                                 23 of377
                                                                        of 9




       8.      A “pen register” is “a device or process which records or decodes dialing, routing,

addressing, or signaling information transmitted by an instrument or facility from which a wire or

electronic communication is transmitted.” 18 U.S.C. § 3127(3). A “trap and trace device” is “a

device or process which captures the incoming electronic or other impulses which identify the

originating number or other dialing, routing, addressing, and signaling information reasonably

likely to identify the source of a wire or electronic communication.” 18 U.S.C. § 3127(4).

       9.      In the traditional telephone context, pen register devices captured the destination

phone numbers of outgoing calls, while trap and trace devices captured the phone numbers of

incoming calls. Similar principles apply to other kinds of wire and electronic communications, as

described below.

       10.     The Internet is a global network of computers and other devices. Devices directly

connected to the Internet are identified by a unique number called an Internet Protocol, or “IP”

address. This number is used to route information between devices. Generally, when one device

requests information from a second device, the requesting device specifies its own IP address so

that the responding device knows where to send its response. An IP address is analogous to a

telephone number and can be recorded by pen-trap devices, and it indicates the online identity of

the communicating device without revealing the communication’s content. There are two types

of IP addresses: dynamic and static. A static IP address is one that is permanently assigned to a

given computer on a network. With dynamic IP addressing, however, each time a computer

establishes an Internet connection, that computer is assigned a different IP address.

       11.     A network is two or more computers or other devices connected to each other that

can exchange information with each other via some transmission method, such as by wires, cables,

or radio waves. The equipment that connects a computer or other device to the network is



                                                -3-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        4 Filed
                                       16-1 Filed      06/08/20
                                                  05/11/22  PagePage
                                                                 24 of477
                                                                        of 9




commonly referred to as a network adapter. Most network adapters have a Media Access Control

(“MAC”) address assigned by the manufacturer of the adapter that is designed to be a unique

identifying number. An adapter’s unique MAC address allows for proper routing of

communications on a local area network and may be used for other purposes, such as

authentication of customers by some network service providers. Unlike a device’s IP address that

often changes each time a device connects to the Internet, a MAC address is fixed at the time of

manufacture of the adapter. Because the address does not change and is intended to be unique, a

MAC address can allow law enforcement to identify whether communications sent or received at

different times are associated with the same adapter.

       12.     On the Internet, data transferred between devices is not sent as a continuous stream,

but rather it is split into discrete packets. Generally, a single communication is sent as a series of

packets. When the packets reach their destination, the receiving device reassembles them into the

complete communication. Each packet has two parts: a header with routing and control

information, and a payload, which generally contains user data. The header contains non-content

information such as the packet’s source and destination IP addresses and the packet’s size.

       13.     In addition, different Internet applications are associated with different “port

numbers,” or numeric identifiers. The port number is transmitted along with any communication

using that application. For example, port 80 typically is associated with communications involving

the World Wide Web.

       14.     Ntrepid holds itself out as an “unconventional technology company” whose

products allow subscribers to conduct various online activities anonymously, through services that

are colloquially known as “anonymization” or “proxy” services. Those types of services allow

Ntrepid substribers to connect with computer servers owned by Ntrepid, and to connect with the



                                                 -4-
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    Case    1:22-pr-09999-UNA
         1:20-pr-00077-RAL    Document
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                                    Document      05/11/22
                                              4 Filed       PagePage
                                                       06/08/20  25 of577
                                                                        of 9




rest of the internet through Ntrepid's computer servers, so that the subcriber's activity appears to

have originated from Ntrepid's computers, rather than from the subscriber's own computers.

                                    THE RELEVANT FACTS

       15.     The United States government, including the FBI, is investigating suspected

violations of 18 U.S.C. § 1030(a)(5) (Computer Fraud and Abuse); 18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. §§ 951(a) (Unregistered Agent of a Foreign Government); 18 U.S.C. §2511(1)(a)

(Unlawful Interception of Electronic Communications); 18 U.S.C. 1956(a)(2)(A) (International

Money Laundering); and 18 U.S.C. § 371 (Conspiracy).

       16.     As part of that investigation, the FBI is investigating former members of the U.S.

intelligence community for illegally providing cyber capabilities and technical data to a foreign

entity and conducting offensive cyber intrusions against protected computers.

       17.                  is a corporate entity which is headquartered in

                   , and which performs services for a foreign government.                   which

employs a number of United States persons who are former members of the United States

intelligence community, has established and operated a platform through which                   can

carry out surveillance, including through offensive cyber intrusions. These offensive cybter

intrusions include gaining unauthorized access to protected computers and smartphones, for the

purpose of intercepting electronic communications, including communications of United States

persons and/or communications that are sent or received through United States computer servers.

       18.     The investigation involves suspected violations of 18 U.S.C. § 1343, including

suspected violations that involved interstate and international wire communications to and from

the District of Columbia.




                                                -5-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        4 Filed
                                       16-1 Filed      06/08/20
                                                  05/11/22  PagePage
                                                                 26 of677
                                                                        of 9




       19.       The conduct being investigated involves use of accounts described in

Attachment A. To further the investigation, investigators need to obtain the dialing, routing,

addressing, and signaling information associated with communications sent to or from, the

SUBJECT ACCOUNT.

       20.       The pen-trap devices sought by this application will record, decode, and/or capture

dialing, routing, addressing, and signaling information associated with each access to, and with

each communication to or from, the SUBJECT ACCOUNT, including the date, time, and duration

of the communication, and the following, without geographic limit:

                Network addresses, including IP addresses and port numbers, associated with
                 access to, and communications to or from, the SUBJECT ACCOUNT;

                MAC addresses, including MAC addresses associated with access to the
                 SUBJECT ACCOUNT;

                Packet headers, including packet headers associated with access to the SUBJECT
                 ACCOUNT;

                Any unique identifiers associated with the device or devices used to access the
                 SUBJECT ACCOUNT; and

                Information regarding the source and destination network addresses, as well as
                 routes of transmission and size of communications, but not content.

                                   GOVERNMENT REQUESTS

       21.       For the reasons stated above, the United States requests that the Court enter an

Order extending the installation and use of pen-trap devices to record, decode, and/or capture the

dialing, routing, addressing, and signaling information described above for each access to, and

each communication to or from, the SUBJECT ACCOUNT, to include the date, time, and duration

of the communication, without geographic limit. The United States does not request and does not

seek to obtain the contents of any communications, as defined in 18 U.S.C. § 2510(8).




                                                 -6-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        4 Filed
                                       16-1 Filed      06/08/20
                                                  05/11/22  PagePage
                                                                 27 of777
                                                                        of 9




       22.     The United States further requests that the Court authorize the foregoing installation

and use for a period of sixty days from the date of the Court’s Order, pursuant to 18 U.S.C. §

3123(c)(1).

       23.     The United States further requests, pursuant to 18 U.S.C. §§ 3123(b)(2) and

3124(a)-(b), that the Court order Ntrepid Corporation (hereinafter “Service Provider”) and any

other person or entity providing wire or electronic communication service in the United States

whose assistance may facilitate execution of the Order, furnish the Agency forthwith all

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service. Any entity providing such assistance shall be reasonably compensated by the

Agency, pursuant to 18 U.S.C. § 3124(c), for reasonable expenses incurred in providing facilities

and assistance in furtherance of the Order.

       24.     The United States further requests that the Court order the Service Provider and any

other person or entity whose assistance may facilitate execution of this Order to notify the applicant

and the Agency of any changes relating to the SUBJECT ACCOUNT, including changes to

subscriber information, and to provide prior notice to the applicant and the Agency before

terminating or changing service to the SUBJECT ACCOUNT.

       25.     The United States further requests that the Court order that the Agency and the

applicant have access to the information collected by the pen-trap devices as soon as practicable,

twenty-four hours per day, or at such other times as may be acceptable to them, for the duration of

the Order.

       26.     The United States further requests that the Court order that Attachment A, which is

incorporated by reference in the proposed Order and which identifies the name(s) of the person(s)



                                                 -7-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        4 Filed
                                       16-1 Filed      06/08/20
                                                  05/11/22  PagePage
                                                                 28 of877
                                                                        of 9




under investigation, remain under seal and withheld from service upon the Service Provider. The

information in Attachment A is not needed by the Service Provider, and doing so will help

safeguard both the privacy interests of unindicted and uncharged individuals and the integrity of

the government’s ongoing investigation. As the Court is aware, persons identified by law

enforcement as “subjects” at the investigative stage of a case may ultimately never be indicted or

charged with any crimes. Yet providing the identities of such persons to commercial entities as

“subjects” needlessly exposes those persons to non-law-enforcement entities, and risks further

exposure should service providers become careless with such information or themselves have that

information breached or “hacked” by other parties. At the same time, exposing the identities of

persons considered “subjects” to service providers also puts investigations at risk, inasmuch as

persons who become aware of their identification as “subjects” can flee and destroy evidence, etc.

To be sure, Section 3123(d) contemplates the sealing of the Court’s Order, and that service

providers will comply and keep the existence of the Order secret. But especially in the age of

“internet hacking,” it is unwise to impart identification information to third parties when that

information is simply not required by those third parties and its exposure risks needless harm.

       27.     The United States further requests, pursuant to 18 U.S.C. § 3123(d)(2), that the

Court order the Service Provider and any other person or entity whose assistance facilitates

execution of the Court’s Order, and their agents and employees, not to disclose in any manner,

directly or indirectly, by any action or inaction, the existence of this application and the Court’s

Order, the resulting pen-trap devices, or this investigation, except as necessary to effectuate the

Order, unless and until authorized by this Court, except that the Service Provider may disclose the

Order to an attorney for the Service Provider for the purpose of receiving legal advice.




                                                -8-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        4 Filed
                                       16-1 Filed      06/08/20
                                                  05/11/22  PagePage
                                                                 29 of977
                                                                        of 9




       28.     The United States further requests that this application and any resulting Order be

sealed until otherwise ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

       29.     The United States further requests that the Clerk of the Court provide the United

States Attorney’s Office with three certified copies of this application and the Court’s Order upon

request, and provide copies of the Order to the Agency upon request.

       30.     The foregoing is based on information provided to me in my official capacity by

agents of the Agency.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on the 4th day of June, 2020.

                                               Respectfully submitted,

                                               MICHAEL R. SHERWIN
                                               United States Attorney
                                               N.Y. Bar No. 888144

                                         By:            /s/ Tejpal S. Chawla
                                               Tejpal S. Chawla
                                               Assistant United States Attorney
                                               D.C. Bar 464012
                                               National Security Section
                                               555 4th Street, N.W., Room 4243
                                               Washington, D.C. 20530
                                               Office: 202-252-7106
                                               tejpal.chawla@usdoj.gov




                                                 -9-
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   Case    1:22-pr-09999-UNA
        1:20-pr-00077-RAL     Document
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                                   Document  4-1 05/11/22   Page 30
                                                  Filed 06/08/20    of 77
                                                                 Page  1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                          PR No. 20-pr-00077
ORDER FOR AN ACCOUNT SERVICED BY
NTREPID CORPORATION FOR
INVESTIGATION OF VIOLATIONS OF                             Filed Under Seal
18 U.S.C. § 1030

                                             ORDER

       Tejpal S. Chawla, on behalf of the United States, has submitted an application pursuant to

18 U.S.C. §§ 3122 and 3123, requesting that the Court issue an Order extending the installation

and use of pen registers and trap and trace devices ("pen-trap devices") on computers identified

by internet protocol ("IP") addresses that are assigned to the Ntrepid Corporation account with the

subscriber

                                                                            (hereinafter "SUBJECT

ACCOUNT"), which is believed to be used by                          and its employees.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, [and others as yet unknown or not fully identified,] in connection with possible

violations of 18 U.S.C. § 1030(a)(5) (Computer Fraud and Abuse); 18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. §§ 951(a) (Unregistered Agent of a Foreign Government); 18 U.S.C. §2511(1)(a)

(Unlawful Interception of Electronic Communications); 18 U.S.C. 1956(a)(2)(A) (International

Money Laundering); and 18 U.S.C. § 371 (Conspiracy). The Court further fmds that a sufficient

showing of good cause has been made for the continued sealing of Attachment A and for the

government's withholding of Attachment A from service upon the Service Provider, in order to

                                                -10-
   Case 1:20-pr-00077-RAL
      Case                *SEALED*
           1:22-pr-09999-UNA       Document
                              Document       4-1 05/11/22
                                       16-1 Filed Filed 06/08/20 Page
                                                            Page 31    2 of 5
                                                                    of 77




help ensure the privacy of the person(s) identified therein and the integrity of the government’s

investigation.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNT, including the date, time, and duration of the communication,

and the following, without geographic limit:

                Network addresses, including IP addresses and port numbers, associated with
                 access to, and communications to or from, the SUBJECT ACCOUNT;

                MAC addresses, including MAC addresses associated with access to the
                 SUBJECT ACCOUNT;

                Packet headers, including packet headers associated with access to the SUBJECT
                 ACCOUNT;

                Any unique identifiers associated with the device or devices used to access the
                 SUBJECT ACCOUNT; and

                Information regarding the source and destination network addresses, as well as
                 routes of transmission and size of communications, but not content.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

Ntrepid Corporation (hereinafter “Service Provider”) and any other person or entity providing wire

or electronic communication service in the United States whose assistance may, pursuant to 18

U.S.C. § 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;


                                                -11-
   Case 1:20-pr-00077-RAL
      Case                *SEALED*
           1:22-pr-09999-UNA       Document
                              Document       4-1 05/11/22
                                       16-1 Filed Filed 06/08/20 Page
                                                            Page 32    3 of 5
                                                                    of 77




         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

Service Provider until further order of the Court, and therefore shall be withheld from service upon

the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNT, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNT;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;




                                                -12-
   Case 1:20-pr-00077-RAL
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                                       16-1 Filed Filed 06/08/20 Page
                                                            Page 33    4 of 5
                                                                    of 77




       IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).



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                                                      UNITED STATES MAGISTRATE JUDGE




                                               -13-
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Case    1:22-pr-09999-UNA
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                                Document  4-1 05/11/22   Page 34
                                               Filed 06/08/20    of 77
                                                              Page  5 of 5




                            ATTACHMENT A
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    Case    1:22-pr-09999-UNA
         1:20-pr-00077-RAL    Document
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                                    Document      05/11/22
                                              5 Filed       PagePage
                                                       06/09/20  35 of177
                                                                        of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                          PR No. 20-pr-00077
ORDER FOR AN ACCOUNT SERVICED BY
NTREPID CORPORATION FOR
INVESTIGATION OF VIOLATIONS OF                             Filed Under Seal
18 U.S.C. § 1030

                                             ORDER

       Tejpal S. Chawla, on behalf of the United States, has submitted an application pursuant to

18 U.S.C. §§ 3122 and 3123, requesting that the Court issue an Order extending the installation

and use of pen registers and trap and trace devices ("pen-trap devices") on computers identified

by internet protocol ("IP") addresses that are assigned to the Ntrepid Corporation account with the

subscriber

                                                                            (hereinafter "SUBJECT

ACCOUNT"), which is believed to be used by                          and its employees.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, [and others as yet unknown or not fully identified,] in connection with possible

violations of 18 U.S.C. § 1030(a)(5) (Computer Fraud and Abuse); 18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. §§ 951(a) (Unregistered Agent of a Foreign Government); 18 U.S.C. §2511(1)(a)

(Unlawful Interception of Electronic Communications); 18 U.S.C. 1956(a)(2)(A) (International

Money Laundering); and 18 U.S.C. § 371 (Conspiracy). The Court further fmds that a sufficient

showing of good cause has been made for the continued sealing of Attachment A and for the

government's withholding of Attachment A from service upon the Service Provider, in order to

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    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        5 Filed
                                       16-1 Filed      06/09/20
                                                  05/11/22  PagePage
                                                                 36 of277
                                                                        of 5




help ensure the privacy of the person(s) identified therein and the integrity of the government’s

investigation.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNT, including the date, time, and duration of the communication,

and the following, without geographic limit:

                Network addresses, including IP addresses and port numbers, associated with
                 access to, and communications to or from, the SUBJECT ACCOUNT;

                MAC addresses, including MAC addresses associated with access to the
                 SUBJECT ACCOUNT;

                Packet headers, including packet headers associated with access to the SUBJECT
                 ACCOUNT;

                Any unique identifiers associated with the device or devices used to access the
                 SUBJECT ACCOUNT; and

                Information regarding the source and destination network addresses, as well as
                 routes of transmission and size of communications, but not content.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

Ntrepid Corporation (hereinafter “Service Provider”) and any other person or entity providing wire

or electronic communication service in the United States whose assistance may, pursuant to 18

U.S.C. § 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;


                                                -11-
    Case 1:20-pr-00077-RAL
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            1:22-pr-09999-UNA       Document
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                                                  05/11/22  PagePage
                                                                 37 of377
                                                                        of 5




         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

Service Provider until further order of the Court, and therefore shall be withheld from service upon

the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNT, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNT;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;




                                                -12-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
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                                                  05/11/22  PagePage
                                                                 38 of477
                                                                        of 5




       IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

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                                                      UNITED STATES MAGISTRATE JUDGE




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                                Document      05/11/22
                                          5 Filed       PagePage
                                                   06/09/20  39 of577
                                                                    of 5




                           ATTACHMENT A
      Case
    Case    1:22-pr-09999-UNA
         1:20-pr-00077-RAL    Document
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                                    Document      05/11/22
                                              6 Filed       PagePage
                                                       08/06/20  40 of177
                                                                        of 9




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                           PR No. 20-pr-00077
ORDER FOR AN ACCOUNT SERVICED BY
NTREPID CORPORATION FOR
INVESTIGATION OF VIOLATIONS OF                              Filed Under Se al
18 U.S.C. 1030

Reference: USAO Re                        Sub'ect Account:


                                      THIRD APPLICATION

       The United States of America, moving by and through Tejpal S. Chawla, its undersigned

counsel, respectfully submits under seal this ex parte application for an order pursuant to 18 U.S.0

§§ 3122 and 3123, extending the installation and use of pen register and trap and trace devices

("pen-trap devices") to record, decode, and/or capture dialing, routing, addressing, and signaling

information associated with each access to, and each communication to or from, computers

identified by internet protocol ("IP") addresses that are assigned to the Ntrepid Corporation

("Ntrepid") account (the "SUBJECT ACCOUNT") with the subscriber



                                                             In support of this application, the United

States asserts:

       1.         This is an application, made under 18 U.S.C. § 3122(a)(1), for an order under 18

U.S.C. § 3123 extending the installation and use of pen-trap devices.

       2.         Such an application must include three elements: (1) "the identity of the attorney

for the Government or the State law enforcement or investigative officer making the application";

(2) "the identity of the law enforcement agency conducting the investigation"; and (3) "a
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
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                                       16-1 Filed      08/06/20
                                                  05/11/22  PagePage
                                                                 41 of277
                                                                        of 9



certification by the applicant that the information likely to be obtained is relevant to an ongoing

criminal investigation being conducted by that agency.” 18 U.S.C. § 3122(b).

       3.      The undersigned applicant is an “attorney for the Government” as defined in Rule

1(b)(1) of the Federal Rules of Criminal Procedure.

       4.      The law enforcement agency conducting the investigation is the Federal Bureau of

Investigation (“FBI”).

       5.      The applicant hereby certifies that the information likely to be obtained by the

requested pen-trap devices is relevant to an ongoing criminal investigation being conducted by the

Agency.

                                         JURISDICTION

       6.      This Court has jurisdiction to issue the requested Order because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 3127. 18 U.S.C. § 3122(a)(1). Specifically, the

Court is a “district court of the United States . . . that – has jurisdiction over the offense being

investigated.” 18 U.S.C. § 3127(2)(A)(i). As discussed more fully below, acts or omissions in

furtherance of the offenses under investigation occurred within Washington, DC. See 18 U.S.C.

§ 3237, and the criminal offenses under investigation began or were committed upon the high seas,

or elsewhere out of the jurisdiction of any particular State or district. See 18 U.S.C. § 3238.

                                 ADDITIONAL INFORMATION

       7.      Other than the three elements described above, federal law does not require that an

application for an order authorizing or extending authorization for the installation and use of pen-

trap devices specify any facts. The following additional information is provided to demonstrate

that the order requested falls within this Court’s authority to authorize or extend authorization for

the installation and use of pen-trap devices under 18 U.S.C. § 3123(a)(1).



                                                 -2-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        6 Filed
                                       16-1 Filed      08/06/20
                                                  05/11/22  PagePage
                                                                 42 of377
                                                                        of 9



       8.      A “pen register” is “a device or process which records or decodes dialing, routing,

addressing, or signaling information transmitted by an instrument or facility from which a wire or

electronic communication is transmitted.” 18 U.S.C. § 3127(3). A “trap and trace device” is “a

device or process which captures the incoming electronic or other impulses which identify the

originating number or other dialing, routing, addressing, and signaling information reasonably

likely to identify the source of a wire or electronic communication.” 18 U.S.C. § 3127(4).

       9.      In the traditional telephone context, pen register devices captured the destination

phone numbers of outgoing calls, while trap and trace devices captured the phone numbers of

incoming calls. Similar principles apply to other kinds of wire and electronic communications, as

described below.

       10.     The Internet is a global network of computers and other devices. Devices directly

connected to the Internet are identified by a unique number called an Internet Protocol, or “IP”

address. This number is used to route information between devices. Generally, when one device

requests information from a second device, the requesting device specifies its own IP address so

that the responding device knows where to send its response. An IP address is analogous to a

telephone number and can be recorded by pen-trap devices, and it indicates the online identity of

the communicating device without revealing the communication’s content. There are two types

of IP addresses: dynamic and static. A static IP address is one that is permanently assigned to a

given computer on a network. With dynamic IP addressing, however, each time a computer

establishes an Internet connection, that computer is assigned a different IP address.

       11.     A network is two or more computers or other devices connected to each other that

can exchange information with each other via some transmission method, such as by wires, cables,

or radio waves. The equipment that connects a computer or other device to the network is



                                                -3-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        6 Filed
                                       16-1 Filed      08/06/20
                                                  05/11/22  PagePage
                                                                 43 of477
                                                                        of 9



commonly referred to as a network adapter. Most network adapters have a Media Access Control

(“MAC”) address assigned by the manufacturer of the adapter that is designed to be a unique

identifying   number. An adapter’s unique MAC address allows for proper routing of

communications on a local area network and may be used for other purposes, such as

authentication of customers by some network service providers. Unlike a device’s IP address that

often changes each time a device connects to the Internet, a MAC address is fixed at the time of

manufacture of the adapter. Because the address does not change and is intended to be unique, a

MAC address can allow law enforcement to identify whether communications sent or received at

different times are associated with the same adapter.

        12.    On the Internet, data transferred between devices is not sent as a continuous stream,

but rather it is split into discrete packets. Generally, a single communication is sent as a series of

packets. When the packets reach their destination, the receiving device reassembles them into the

complete communication. Each packet has two parts: a header with routing and control

information, and a payload, which generally contains user data. The header contains non-content

information such as the packet’s source and destination IP addresses and the packet’s size.

        13.    In addition, different Internet applications are associated with different “port

numbers,” or numeric identifiers. The port number is transmitted along with any communication

using that application. For example, port 80 typically is associated with communications involv ing

the World Wide Web.

        14.    Ntrepid holds itself out as an “unconventional technology company” whose

products allow subscribers to conduct various online activities anonymously, through services that

are colloquially known as “anonymization” or “proxy” services. Those types of services allow

Ntrepid substribers to connect with computer servers owned by Ntrepid, and to connect with the



                                                 -4-
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    Case    1:22-pr-09999-UNA
         1:20-pr-00077-RAL    Document
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                                    Document      05/11/22
                                              6 Filed       PagePage
                                                       08/06/20 44 of577
                                                                       of 9




rest of the internet through Ntrepid's computer servers, so that the subcriber's activity appears to

have originated from Ntrepid's computers, rather than from the subscriber's own computers.

                                    THE RELEVANT FACTS

       15.     The United States government, including the FBI, is investigating suspected

violations of 18 U.S.C. § 1030(a)(5) (Computer Fraud and Abuse); 18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. §§ 951(a) (Unregistered Agent of a Foreign Government); 18 U. S. C. § 2511(1)(a )

(Unlawful Interception of Electronic Communications); 18 U.S.C. 1956(a)(2)(A) (International

Money Laundering); and 18 U.S.C. § 371 (Conspiracy).

       16.     As part of that investigation, the FBI is investigating former members of the U.S.

intelligence community for illegally providing cyber capabilities and technical data to a foreign

entity and conducting offensive cyber intrusions against protected computers.

       17.                  is a corporate entity which is headquartered in the

                    and which performs services for a foreign government.                   , which

employs a number of United States persons who are former members of the United States

intelligence community, has established and operated a platform through which                   can

carry out surveillance, including through offensive cyber intrusions.      These offensive cybter

intrusions include gaining unauthorized access to protected computers and smartphones, for the

purpose of intercepting electronic communications, including communications of United States

persons and/or communications that are sent or received through United States computer servers.

       18.     The investigation involves suspected violations of 18 U.S.C. § 1343, including

suspected violations that involved interstate and international wire communications to and from

the District of Columbia.




                                                -5-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        6 Filed
                                       16-1 Filed      08/06/20
                                                  05/11/22  PagePage
                                                                 45 of677
                                                                        of 9



       19.       The conduct being investigated        involves   use of accounts described in

Attachment A. To further the investigation, investigators need to obtain the dialing, routing,

addressing, and signaling information associated with communications sent to or from, the

SUBJECT ACCOUNT.

       20.       The pen-trap devices sought by this application will record, decode, and/or capture

dialing, routing, addressing, and signaling information associated with each access to, and with

each communication to or from, the SUBJECT ACCOUNT, including the date, time, and duration

of the communication, and the following, without geographic limit:

                Network addresses, including IP addresses and port numbers, associated with
                 access to, and communications to or from, the SUBJECT ACCOUNT;

                MAC addresses, including MAC addresses associated with access to the
                 SUBJECT ACCOUNT;

                Packet headers, including packet headers associated with access to the SUBJECT
                 ACCOUNT;

                Any unique identifiers associated with the device or devices used to access the
                 SUBJECT ACCOUNT; and

                Information regarding the source and destination network addresses, as well as
                 routes of transmission and size of communications, but not content.

                                   GOVERNMENT REQUESTS

       21.       For the reasons stated above, the United States requests that the Court enter an

Order extending the installation and use of pen-trap devices to record, decode, and/or capture the

dialing, routing, addressing, and signaling information described above for each access to, and

each communication to or from, the SUBJECT ACCOUNT, to include the date, time, and duration

of the communication, without geographic limit. The United States does not request and does not

seek to obtain the contents of any communications, as defined in 18 U.S.C. § 2510(8).




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    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        6 Filed
                                       16-1 Filed      08/06/20
                                                  05/11/22  PagePage
                                                                 46 of777
                                                                        of 9



       22.     The United States further requests that the Court authorize the foregoing installation

and use for a period of sixty days from the date of the Court’s Order, pursuant to 18 U.S.C. §

3123(c)(1).

       23.     The United States further requests, pursuant to 18 U.S.C. §§ 3123(b)(2) and

3124(a)-(b), that the Court order Ntrepid Corporation (hereinafter “Service Provider”) and any

other person or entity providing wire or electronic communication service in the United States

whose assistance may facilitate execution of the Order, furnish the Agency forthwith all

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service. Any entity providing such assistance shall be reasonably compensated by the

Agency, pursuant to 18 U.S.C. § 3124(c), for reasonable expenses incurred in providing facilities

and assistance in furtherance of the Order.

       24.     The United States further requests that the Court order the Service Provider and any

other person or entity whose assistance may facilitate execution of this Order to notify the applicant

and the Agency of any changes relating to the SUBJECT ACCOUNT, including changes to

subscriber information, and to provide prior notice to the applicant and the Agency before

terminating or changing service to the SUBJECT ACCOUNT.

       25.     The United States further requests that the Court order that the Agency and the

applicant have access to the information collected by the pen-trap devices as soon as practicable,

twenty-four hours per day, or at such other times as may be acceptable to them, for the duration of

the Order.

       26.     The United States further requests that the Court order that Attachment A, which is

incorporated by reference in the proposed Order and which identifies the name(s) of the person(s)



                                                 -7-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        6 Filed
                                       16-1 Filed      08/06/20
                                                  05/11/22  PagePage
                                                                 47 of877
                                                                        of 9



under investigation, remain under seal and withheld from service upon the Service Provider. The

information in Attachment A is not needed by the Service Provider, and doing so will help

safeguard both the privacy interests of unindicted and uncharged individuals and the integrity of

the government’s ongoing investigation. As the Court is aware, persons identified by law

enforcement as “subjects” at the investigative stage of a case may ultimately never be indicted or

charged with any crimes. Yet providing the identities of such persons to commercial entities as

“subjects” needlessly exposes those persons to non-law-enforcement entities, and risks further

exposure should service providers become careless with such information or themselves have that

information breached or “hacked” by other parties. At the same time, exposing the identities of

persons considered “subjects” to service providers also puts investigations at risk, inasmuch as

persons who become aware of their identification as “subjects” can flee and destroy evidence, etc.

To be sure, Section 3123(d) contemplates the sealing of the Court’s Order, and that service

providers will comply and keep the existence of the Order secret. But especially in the age of

“internet hacking,” it is unwise to impart identification information to third parties when that

information is simply not required by those third parties and its exposure risks needless harm.

       27.     The United States further requests, pursuant to 18 U.S.C. § 3123(d)(2), that the

Court order the Service Provider and any other person or entity whose assistance facilitates

execution of the Court’s Order, and their agents and employees, not to disclose in any manner,

directly or indirectly, by any action or inaction, the existence of this application and the Court’s

Order, the resulting pen-trap devices, or this investigation, except as necessary to effectuate the

Order, unless and until authorized by this Court, except that the Service Provider may disclose the

Order to an attorney for the Service Provider for the purpose of receiving legal advice.




                                                -8-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        6 Filed
                                       16-1 Filed      08/06/20
                                                  05/11/22  PagePage
                                                                 48 of977
                                                                        of 9



       28.     The United States further requests that this application and any resulting Order be

sealed until otherwise ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

       29.     The United States further requests that the Clerk of the Court provide the United

States Attorney’s Office with three certified copies of this application and the Court’s Order upon

request, and provide copies of the Order to the Agency upon request.

       30.     The foregoing is based on information provided to me in my official capacity by

agents of the Agency.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on the 6th day of August, 2020.

                                               Respectfully submitted,

                                               MICHAEL R. SHERWIN
                                               Acting United States Attorney
                                               N.Y. Bar No. 8888144

                                         By:             /s/ Tejpal S. Chawla
                                               Tejpal S. Chawla
                                               Assistant United States Attorney
                                               D.C. Bar 464012
                                               National Security Section
                                               555 4th Street, N.W., Room 4243
                                               Washington, D.C. 20530
                                               Office: 202-252-7106
                                               tejpal.chawla@usdoj.gov




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   Case    1:22-pr-09999-UNA
        1:20-pr-00077-RAL     Document
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                                   Document  6-1 05/11/22   Page 49
                                                  Filed 08/06/20    of 77
                                                                 Page  1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                          PR No. 20-pr-00077
ORDER FOR AN ACCOUNT SERVICED BY
NTREPID CORPORATION FOR
INVESTIGATION OF VIOLATIONS OF                             Filed Under Se al
18 U.S.C. § 1030

                                             ORDER

       Tejpal S. Chawla, on behalf of the United States, has submitted an application pursuant to

18 U.S.C. §§ 3122 and 3123, requesting that the Court issue an Order extending the installation

and use of pen registers and trap and trace devices ("pen-trap devices") on computers identified

by internet protocol ("IP") addresses that are assigned to the Ntrepid Corporation account with the

subscriber

                                                                            (hereinafter "SUBJECT

ACCOUNT"), which is believed to be used by                         , and its employees.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, [and others as yet unknown or not fully identified,] in connection with possible

violations of 18 U.S.C. § 1030(a)(5) (Computer Fraud and Abuse); 18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. §§ 951(a) (Unregistered Agent of a Foreign Government); 18 U.S.C. §2511(1)(a)

(Unlawful Interception of Electronic Communications); 18 U.S.C. 1956(a)(2)(A) (International

Money Laundering); and 18 U.S.C. § 371 (Conspiracy). The Court further fads that a sufficient

showing of good cause has been made for the continued sealing of Attachment A and for the

government's withholding of Attachment A from service upon the Service Provider, in order to

                                                -10-
   Case 1:20-pr-00077-RAL
      Case                *SEALED*
           1:22-pr-09999-UNA       Document
                              Document       6-1 05/11/22
                                       16-1 Filed Filed 08/06/20 Page
                                                            Page 50    2 of 5
                                                                    of 77



help ensure the privacy of the person(s) identified therein and the integrity of the government’s

investigation.

        IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNT, including the date, time, and duration of the communication ,

and the following, without geographic limit:

                Network addresses, including IP addresses and port numbers, associated with
                 access to, and communications to or from, the SUBJECT ACCOUNT;

                MAC addresses, including MAC addresses associated with access to the
                 SUBJECT ACCOUNT;

                Packet headers, including packet headers associated with access to the SUBJECT
                 ACCOUNT;

                Any unique identifiers associated with the device or devices used to access the
                 SUBJECT ACCOUNT; and

                Information regarding the source and destination network addresses, as well as
                 routes of transmission and size of communications, but not content.

        IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

        IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

Ntrepid Corporation (hereinafter “Service Provider”) and any other person or entity providing wire

or electronic communication service in the United States whose assistance may, pursuant to 18

U.S.C. § 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;


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      Case                *SEALED*
           1:22-pr-09999-UNA       Document
                              Document       6-1 05/11/22
                                       16-1 Filed Filed 08/06/20 Page
                                                            Page 51    3 of 5
                                                                    of 77



         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

Service Provider until further order of the Court, and therefore shall be withheld from service upon

the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNT, including changes to subscriber information ,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNT;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;




                                                -12-
   Case 1:20-pr-00077-RAL
      Case                *SEALED*
           1:22-pr-09999-UNA       Document
                              Document       6-1 05/11/22
                                       16-1 Filed Filed 08/06/20 Page
                                                            Page 52    4 of 5
                                                                    of 77



       IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).



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                                                      UNITED STATES MAGISTRATE JUDGE




                                               -13-
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Case    1:22-pr-09999-UNA
     1:20-pr-00077-RAL     Document
                       *SEALED*     16-1 Filed
                                Document  6-1 05/11/22   Page 53
                                               Filed 08/06/20    of 77
                                                              Page  5 of 5




                            ATTACHMENT A
      Case
    Case    1:22-pr-09999-UNA
         1:20-pr-00077-RAL    Document
                           *SEALED*    16-1 Filed
                                    Document      05/11/22
                                              7 Filed       PagePage
                                                       08/07/20  54 of177
                                                                        of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                          PR No. 20-pr-00077
ORDER FOR AN ACCOUNT SERVICED BY
NTREPID CORPORATION FOR
INVESTIGATION OF VIOLATIONS OF                             Filed Under Se al
18 U.S.C. § 1030

                                             ORDER

       Tejpal S. Chawla, on behalf of the United States, has submitted an application pursuant to

18 U.S.C. §§ 3122 and 3123, requesting that the Court issue an Order extending the installation

and use of pen registers and trap and trace devices ("pen-trap devices") on computers identified

by internet protocol ("IP") addresses that are assigned to the Ntrepid Corporation account with the

subscriber

                                                                            hereinafter "SUBJECT

ACCOUNT"), which is believed to be used by                         , and its employees.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, [and others as yet unknown or not fully identified,] in connection with possible

violations of 18 U.S.C. § 1030(a)(5) (Computer Fraud and Abuse); 18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. §§ 951(a) (Unregistered Agent of a Foreign Government); 18 U.S.C. §2511(1)(a)

(Unlawful Interception of Electronic Communications); 18 U.S.C. 1956(a)(2)(A) (International

Money Laundering); and 18 U.S.C. § 371 (Conspiracy). The Court further fords that a sufficient

showing of good cause has been made for the continued sealing of Attachment A and for the

government's withholding of Attachment A from service upon the Service Provider, in order to

                                                -10-
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      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
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                                       16-1 Filed      08/07/20
                                                  05/11/22  PagePage
                                                                 55 of277
                                                                        of 5



help ensure the privacy of the person(s) identified therein and the integrity of the government’s

investigation.

        IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNT, including the date, time, and duration of the communication ,

and the following, without geographic limit:

                Network addresses, including IP addresses and port numbers, associated with
                 access to, and communications to or from, the SUBJECT ACCOUNT;

                MAC addresses, including MAC addresses associated with access to the
                 SUBJECT ACCOUNT;

                Packet headers, including packet headers associated with access to the SUBJECT
                 ACCOUNT;

                Any unique identifiers associated with the device or devices used to access the
                 SUBJECT ACCOUNT; and

                Information regarding the source and destination network addresses, as well as
                 routes of transmission and size of communications, but not content.

        IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

        IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

Ntrepid Corporation (hereinafter “Service Provider”) and any other person or entity providing wire

or electronic communication service in the United States whose assistance may, pursuant to 18

U.S.C. § 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;


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    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        7 Filed
                                       16-1 Filed      08/07/20
                                                  05/11/22  PagePage
                                                                 56 of377
                                                                        of 5



         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

Service Provider until further order of the Court, and therefore shall be withheld from service upon

the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNT, including changes to subscriber information ,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNT;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;




                                                -12-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
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                                       16-1 Filed      08/07/20
                                                  05/11/22  PagePage
                                                                 57 of477
                                                                        of 5



       IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

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                                                      UNITED STATES MAGISTRATE JUDGE




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                                Document      05/11/22
                                          7 Filed       PagePage
                                                   08/07/20  58 of577
                                                                    of 5




                           ATTACHMENT A
      Case
    Case    1:22-pr-09999-UNA
         1:20-pr-00077-RAL    Document
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                                    Document      05/11/22
                                              8 Filed      PagePage
                                                      10/15/20  59 of177
                                                                       of 9




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                           PR No. 20-pr-77
ORDER FOR AN ACCOUNT SERVICED BY
NTREPID CORPORATION FOR
INVESTIGATION OF VIOLATIONS OF                              Filed Under Seal
18 U.S.C. 1030

Re erence: USAO Re                        Sub'ect Account:


                                     FOURTH APPLICATION

        The United States of America, moving by and through Tejpal S. Chawla, its undersigned

counsel, respectfully submits under seal this ex parte application for an order pursuant to 18 U.S.0

§§ 3122 and 3123, extending the installation and use of pen register and trap and trace devices

("pen-trap devices") to record, decode, and/or capture dialing, routing, addressing, and signaling

information associated with each access to, and each communication to or from, computers

identified by internet protocol ("IP") addresses that are assigned to the Ntrepid Corporation

("Ntrepid") account (the "SUBJECT ACCOUNT") with the subscriber



                                                            In support of this application, the United

States asserts:

        1.        This is an application, made under 18 U.S.C. § 3122(a)(1), for an order under 18

U.S.C. § 3123 extending the installation and use of pen-trap devices.

        2.        Such an application must include three elements: (1) "the identity of the attorney

for the Government or the State law enforcement or investigative officer making the application";

(2) "the identity of the law enforcement agency conducting the investigation"; and (3) "a
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
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                                       16-1 Filed      10/15/20
                                                  05/11/22  PagePage
                                                                 60 of277
                                                                        of 9




certification by the applicant that the information likely to be obtained is relevant to an ongoing

criminal investigation being conducted by that agency.” 18 U.S.C. § 3122(b).

       3.      The undersigned applicant is an “attorney for the Government” as defined in Rule

1(b)(1) of the Federal Rules of Criminal Procedure.

       4.      The law enforcement agency conducting the investigation is the Federal Bureau of

Investigation (“FBI”).

       5.      The applicant hereby certifies that the information likely to be obtained by the

requested pen-trap devices is relevant to an ongoing criminal investigation being conducted by the

Agency.

                                         JURISDICTION

       6.      This Court has jurisdiction to issue the requested Order because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 3127. 18 U.S.C. § 3122(a)(1). Specifically, the

Court is a “district court of the United States . . . that – has jurisdiction over the offense being

investigated.” 18 U.S.C. § 3127(2)(A)(i). As discussed more fully below, acts or omissions in

furtherance of the offenses under investigation occurred within Washington, DC. See 18 U.S.C.

§ 3237, and the criminal offenses under investigation began or were committed upon the high seas,

or elsewhere out of the jurisdiction of any particular State or district. See 18 U.S.C. § 3238.

                                 ADDITIONAL INFORMATION

       7.      Other than the three elements described above, federal law does not require that an

application for an order authorizing or extending authorization for the installation and use of pen-

trap devices specify any facts. The following additional information is provided to demonstrate

that the order requested falls within this Court’s authority to authorize or extend authorization for

the installation and use of pen-trap devices under 18 U.S.C. § 3123(a)(1).



                                                 -2-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        8 Filed
                                       16-1 Filed      10/15/20
                                                  05/11/22  PagePage
                                                                 61 of377
                                                                        of 9




       8.      A “pen register” is “a device or process which records or decodes dialing, routing,

addressing, or signaling information transmitted by an instrument or facility from which a wire or

electronic communication is transmitted.” 18 U.S.C. § 3127(3). A “trap and trace device” is “a

device or process which captures the incoming electronic or other impulses which identify the

originating number or other dialing, routing, addressing, and signaling information reasonably

likely to identify the source of a wire or electronic communication.” 18 U.S.C. § 3127(4).

       9.      In the traditional telephone context, pen register devices captured the destination

phone numbers of outgoing calls, while trap and trace devices captured the phone numbers of

incoming calls. Similar principles apply to other kinds of wire and electronic communications, as

described below.

       10.     The Internet is a global network of computers and other devices. Devices directly

connected to the Internet are identified by a unique number called an Internet Protocol, or “IP”

address. This number is used to route information between devices. Generally, when one device

requests information from a second device, the requesting device specifies its own IP address so

that the responding device knows where to send its response. An IP address is analogous to a

telephone number and can be recorded by pen-trap devices, and it indicates the online identity of

the communicating device without revealing the communication’s content. There are two types

of IP addresses: dynamic and static. A static IP address is one that is permanently assigned to a

given computer on a network. With dynamic IP addressing, however, each time a computer

establishes an Internet connection, that computer is assigned a different IP address.

       11.     A network is two or more computers or other devices connected to each other that

can exchange information with each other via some transmission method, such as by wires, cables,

or radio waves. The equipment that connects a computer or other device to the network is



                                                -3-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        8 Filed
                                       16-1 Filed      10/15/20
                                                  05/11/22  PagePage
                                                                 62 of477
                                                                        of 9




commonly referred to as a network adapter. Most network adapters have a Media Access Control

(“MAC”) address assigned by the manufacturer of the adapter that is designed to be a unique

identifying number. An adapter’s unique MAC address allows for proper routing of

communications on a local area network and may be used for other purposes, such as

authentication of customers by some network service providers. Unlike a device’s IP address that

often changes each time a device connects to the Internet, a MAC address is fixed at the time of

manufacture of the adapter. Because the address does not change and is intended to be unique, a

MAC address can allow law enforcement to identify whether communications sent or received at

different times are associated with the same adapter.

       12.     On the Internet, data transferred between devices is not sent as a continuous stream,

but rather it is split into discrete packets. Generally, a single communication is sent as a series of

packets. When the packets reach their destination, the receiving device reassembles them into the

complete communication. Each packet has two parts: a header with routing and control

information, and a payload, which generally contains user data. The header contains non-content

information such as the packet’s source and destination IP addresses and the packet’s size.

       13.     In addition, different Internet applications are associated with different “port

numbers,” or numeric identifiers. The port number is transmitted along with any communication

using that application. For example, port 80 typically is associated with communications involving

the World Wide Web.

       14.     Ntrepid holds itself out as an “unconventional technology company” whose

products allow subscribers to conduct various online activities anonymously, through services that

are colloquially known as “anonymization” or “proxy” services. Those types of services allow

Ntrepid substribers to connect with computer servers owned by Ntrepid, and to connect with the



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    Case    1:22-pr-09999-UNA
         1:20-pr-00077-RAL    Document
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                                    Document      05/11/22
                                              8 Filed      PagePage
                                                      10/15/20  63 of577
                                                                       of 9




rest of the internet through Ntrepid's computer servers, so that the subcriber's activity appears to

have originated from Ntrepid's computers, rather than from the subscriber's own computers.

                                    THE RELEVANT FACTS

       15.     The United States government, including the FBI, is investigating suspected

violations of 18 U.S.C. § 1030(a)(5) (Computer Fraud and Abuse); 18 U.S.C. §§ 951(a)

(Unregistered Agent of a Foreign Government); 18 U.S.C. §2511(1)(a) (Unlawful Interception of

Electronic Communications); 18 U.S.C. 1956(a)(2)(A) (International Money Laundering); 18

U.S.C. § 371 (Conspiracy); 22 U.S.C. § 2778 (Violations of the Arms Export Control Act); and

22 C.F.R. Parts 120-130 (Violations of International Trafficking in Arms Regulations).

       16.     As part of that investigation, the FBI is investigating former members of the U.S.

intelligence community for illegally providing cyber capabilities and technical data to a foreign

entity and conducting offensive cyber intrusions against protected computers.

       17.                  is a corporate entity which is headquartered in

                   , and which performs services for a foreign government.                   which

employs a number of United States persons who are former members of the United States

intelligence community, has established and operated a platform through which                   can

carry out surveillance, including through offensive cyber intrusions. These offensive cybter

intrusions include gaining unauthorized access to protected computers and smartphones, for the

purpose of intercepting electronic communications, including communications of United States

persons and/or communications that are sent or received through United States computer servers.

       18.     The investigation involves a failing to obtain a license to provide defense services

to a foreign organization, in violation of 22 U.S.C. § 2778 and 22 C.F.R. Parts 120-130, including

by failing to obtain a license from the U.S. Department of State in the District of Columbia.



                                                -5-
    Case 1:20-pr-00077-RAL
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            1:22-pr-09999-UNA       Document
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                                       16-1 Filed      10/15/20
                                                  05/11/22  PagePage
                                                                 64 of677
                                                                        of 9




       19.       The conduct being investigated involves use of accounts described in

Attachment A. To further the investigation, investigators need to obtain the dialing, routing,

addressing, and signaling information associated with communications sent to or from, the

SUBJECT ACCOUNT.

       20.       The pen-trap devices sought by this application will record, decode, and/or capture

dialing, routing, addressing, and signaling information associated with each access to, and with

each communication to or from, the SUBJECT ACCOUNT, including the date, time, and duration

of the communication, and the following, without geographic limit:

                Network addresses, including IP addresses and port numbers, associated with
                 access to, and communications to or from, the SUBJECT ACCOUNT;

                MAC addresses, including MAC addresses associated with access to the
                 SUBJECT ACCOUNT;

                Packet headers, including packet headers associated with access to the SUBJECT
                 ACCOUNT;

                Any unique identifiers associated with the device or devices used to access the
                 SUBJECT ACCOUNT; and

                Information regarding the source and destination network addresses, as well as
                 routes of transmission and size of communications, but not content.

                                   GOVERNMENT REQUESTS

       21.       For the reasons stated above, the United States requests that the Court enter an

Order extending the installation and use of pen-trap devices to record, decode, and/or capture the

dialing, routing, addressing, and signaling information described above for each access to, and

each communication to or from, the SUBJECT ACCOUNT, to include the date, time, and duration

of the communication, without geographic limit. The United States does not request and does not

seek to obtain the contents of any communications, as defined in 18 U.S.C. § 2510(8).




                                                 -6-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
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                                       16-1 Filed      10/15/20
                                                  05/11/22  PagePage
                                                                 65 of777
                                                                        of 9




       22.     The United States further requests that the Court authorize the foregoing installation

and use for a period of sixty days from the date of the Court’s Order, pursuant to 18 U.S.C. §

3123(c)(1).

       23.     The United States further requests, pursuant to 18 U.S.C. §§ 3123(b)(2) and

3124(a)-(b), that the Court order Ntrepid Corporation (hereinafter “Service Provider”) and any

other person or entity providing wire or electronic communication service in the United States

whose assistance may facilitate execution of the Order, furnish the Agency forthwith all

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service. Any entity providing such assistance shall be reasonably compensated by the

Agency, pursuant to 18 U.S.C. § 3124(c), for reasonable expenses incurred in providing facilities

and assistance in furtherance of the Order.

       24.     The United States further requests that the Court order the Service Provider and any

other person or entity whose assistance may facilitate execution of this Order to notify the applicant

and the Agency of any changes relating to the SUBJECT ACCOUNT, including changes to

subscriber information, and to provide prior notice to the applicant and the Agency before

terminating or changing service to the SUBJECT ACCOUNT.

       25.     The United States further requests that the Court order that the Agency and the

applicant have access to the information collected by the pen-trap devices as soon as practicable,

twenty-four hours per day, or at such other times as may be acceptable to them, for the duration of

the Order.

       26.     The United States further requests that the Court order that Attachment A, which is

incorporated by reference in the proposed Order and which identifies the name(s) of the person(s)



                                                 -7-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        8 Filed
                                       16-1 Filed      10/15/20
                                                  05/11/22  PagePage
                                                                 66 of877
                                                                        of 9




under investigation, remain under seal and withheld from service upon the Service Provider. The

information in Attachment A is not needed by the Service Provider, and doing so will help

safeguard both the privacy interests of unindicted and uncharged individuals and the integrity of

the government’s ongoing investigation. As the Court is aware, persons identified by law

enforcement as “subjects” at the investigative stage of a case may ultimately never be indicted or

charged with any crimes. Yet providing the identities of such persons to commercial entities as

“subjects” needlessly exposes those persons to non-law-enforcement entities, and risks further

exposure should service providers become careless with such information or themselves have that

information breached or “hacked” by other parties. At the same time, exposing the identities of

persons considered “subjects” to service providers also puts investigations at risk, inasmuch as

persons who become aware of their identification as “subjects” can flee and destroy evidence, etc.

To be sure, Section 3123(d) contemplates the sealing of the Court’s Order, and that service

providers will comply and keep the existence of the Order secret. But especially in the age of

“internet hacking,” it is unwise to impart identification information to third parties when that

information is simply not required by those third parties and its exposure risks needless harm.

       27.     The United States further requests, pursuant to 18 U.S.C. § 3123(d)(2), that the

Court order the Service Provider and any other person or entity whose assistance facilitates

execution of the Court’s Order, and their agents and employees, not to disclose in any manner,

directly or indirectly, by any action or inaction, the existence of this application and the Court’s

Order, the resulting pen-trap devices, or this investigation, except as necessary to effectuate the

Order, unless and until authorized by this Court, except that the Service Provider may disclose the

Order to an attorney for the Service Provider for the purpose of receiving legal advice.




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    Case 1:20-pr-00077-RAL
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                                       16-1 Filed      10/15/20
                                                  05/11/22  PagePage
                                                                 67 of977
                                                                        of 9




       28.     The United States further requests that this application and any resulting Order be

sealed until otherwise ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

       29.     The United States further requests that the Clerk of the Court provide the United

States Attorney’s Office with three certified copies of this application and the Court’s Order upon

request, and provide copies of the Order to the Agency upon request.

       30.     The foregoing is based on information provided to me in my official capacity by

agents of the Agency.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on the 15th day of October 2020.

                                               Respectfully submitted,

                                               MICHAEL R. SHERWIN
                                               Acting United States Attorney
                                               N.Y. Bar No. 8888144

                                         By:            /s/ Tejpal S. Chawla
                                               Tejpal S. Chawla
                                               Assistant United States Attorney
                                               D.C. Bar 464012
                                               555 4th Street, N.W., Room 4243
                                               Washington, D.C. 20530
                                               Office: 202-252-7106
                                               tejpal.chawla@usdoj.gov




                                                 -9-
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   Case    1:22-pr-09999-UNA
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                                   Document  8-1 05/11/22   Page 68
                                                  Filed 10/15/20    of 77
                                                                 Page  1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                          PR No. 20-pr-77
ORDER FOR AN ACCOUNT SERVICED BY
NTREPID CORPORATION FOR
INVESTIGATION OF VIOLATIONS OF                             Filed Under Seal
18 U.S.C. § 1030

                                             ORDER

       Tejpal S. Chawla, on behalf of the United States, has submitted an application pursuant to

18 U.S.C. §§ 3122 and 3123, requesting that the Court issue an Order extending the installation

and use of pen registers and trap and trace devices ("pen-trap devices") on computers identified

by internet protocol ("IP") addresses that are assigned to the Ntrepid Corporation account with the

subscriber

                                                                            hereinafter "SUBJECT

ACCOUNT"), which is believed to be used by                          and its employees.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, [and others as yet unknown or not fully identified,] in connection with possible

violations of 18 U.S.C. § 1030(a)(5) (Computer Fraud and Abuse); 18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. §§ 951(a) (Unregistered Agent of a Foreign Government); 18 U.S.C. §2511(1)(a)

(Unlawful Interception of Electronic Communications); 18 U.S.C. 1956(a)(2)(A) (International

Money Laundering); 18 U.S.C. § 371 (Conspiracy); 22 U.S.C. § 2778 (Violations of the Arms

Export Control Act); and 22 C.F.R. Parts 120-130 (Violations of International Trafficking in Arms

Regulations). The Court further finds that a sufficient showing of good cause has been made for

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                              Document       8-1 05/11/22
                                       16-1 Filed Filed 10/15/20 Page
                                                            Page 69    2 of 5
                                                                    of 77




the continued sealing of Attachment A and for the government’s withholding of Attachment A

from service upon the Service Provider, in order to help ensure the privacy of the person(s)

identified therein and the integrity of the government’s investigation.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNT, including the date, time, and duration of the communication,

and the following, without geographic limit:

              Network addresses, including IP addresses and port numbers, associated with
               access to, and communications to or from, the SUBJECT ACCOUNT;

              MAC addresses, including MAC addresses associated with access to the
               SUBJECT ACCOUNT;

              Packet headers, including packet headers associated with access to the SUBJECT
               ACCOUNT;

              Any unique identifiers associated with the device or devices used to access the
               SUBJECT ACCOUNT; and

              Information regarding the source and destination network addresses, as well as
               routes of transmission and size of communications, but not content.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

Ntrepid Corporation (hereinafter “Service Provider”) and any other person or entity providing wire

or electronic communication service in the United States whose assistance may, pursuant to 18

U.S.C. § 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including




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                                       16-1 Filed Filed 10/15/20 Page
                                                            Page 70    3 of 5
                                                                    of 77




installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;

         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

Service Provider until further order of the Court, and therefore shall be withheld from service upon

the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNT, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNT;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;



                                                -12-
   Case 1:20-pr-00077-RAL
      Case                *SEALED*
           1:22-pr-09999-UNA       Document
                              Document       8-1 05/11/22
                                       16-1 Filed Filed 10/15/20 Page
                                                            Page 71    4 of 5
                                                                    of 77




       IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).



                                                      ____________________________________
                                                      UNITED STATES MAGISTRATE JUDGE




                                               -13-
   Case
Case    1:22-pr-09999-UNA
     1:20-pr-00077-RAL     Document
                       *SEALED*     16-1 Filed
                                Document  8-1 05/11/22   Page 72
                                               Filed 10/15/20    of 77
                                                              Page  5 of 5




                            ATTACHMENT A
      Case
    Case    1:22-pr-09999-UNA
         1:20-pr-00077-RAL    Document
                           *SEALED*    16-1 Filed
                                    Document      05/11/22
                                              9 Filed      PagePage
                                                      10/19/20  73 of177
                                                                       of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF USA FOR PRTT                          PR No. 20-pr-77
ORDER FOR AN ACCOUNT SERVICED BY
NTREPID CORPORATION FOR
INVESTIGATION OF VIOLATIONS OF                             Filed Under Seal
18 U.S.C. § 1030

                                             ORDER

       Tejpal S. Chawla, on behalf of the United States, has submitted an application pursuant to

18 U.S.C. §§ 3122 and 3123, requesting that the Court issue an Order extending the installation

and use of pen registers and trap and trace devices ("pen-trap devices") on computers identified

by internet protocol ("IP") addresses that are assigned to the Ntrepid Corporation account with the

subscriber

                                                                            hereinafter "SUBJECT

ACCOUNT"), which is believed to be used by                          and its employees.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, [and others as yet unknown or not fully identified,] in connection with possible

violations of 18 U.S.C. § 1030(a)(5) (Computer Fraud and Abuse); 18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. §§ 951(a) (Unregistered Agent of a Foreign Government); 18 U.S.C. §2511(1)(a)

(Unlawful Interception of Electronic Communications); 18 U.S.C. 1956(a)(2)(A) (International

Money Laundering); 18 U.S.C. § 371 (Conspiracy); 22 U.S.C. § 2778 (Violations of the Arms

Export Control Act); and 22 C.F.R. Parts 120-130 (Violations of International Trafficking in Arms

Regulations). The Court further finds that a sufficient showing of good cause has been made for

                                                -10-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        9 Filed
                                       16-1 Filed      10/19/20
                                                  05/11/22  PagePage
                                                                 74 of277
                                                                        of 5




the continued sealing of Attachment A and for the government’s withholding of Attachment A

from service upon the Service Provider, in order to help ensure the privacy of the person(s)

identified therein and the integrity of the government’s investigation.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNT, including the date, time, and duration of the communication,

and the following, without geographic limit:

              Network addresses, including IP addresses and port numbers, associated with
               access to, and communications to or from, the SUBJECT ACCOUNT;

              MAC addresses, including MAC addresses associated with access to the
               SUBJECT ACCOUNT;

              Packet headers, including packet headers associated with access to the SUBJECT
               ACCOUNT;

              Any unique identifiers associated with the device or devices used to access the
               SUBJECT ACCOUNT; and

              Information regarding the source and destination network addresses, as well as
               routes of transmission and size of communications, but not content.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

Ntrepid Corporation (hereinafter “Service Provider”) and any other person or entity providing wire

or electronic communication service in the United States whose assistance may, pursuant to 18

U.S.C. § 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including




                                                -11-
    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        9 Filed
                                       16-1 Filed      10/19/20
                                                  05/11/22  PagePage
                                                                 75 of377
                                                                        of 5




installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;

         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

Service Provider until further order of the Court, and therefore shall be withheld from service upon

the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNT, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNT;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;



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    Case 1:20-pr-00077-RAL
      Case                 *SEALED*
            1:22-pr-09999-UNA       Document
                              Document        9 Filed
                                       16-1 Filed      10/19/20
                                                  05/11/22  PagePage
                                                                 76 of477
                                                                        of 5




       IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).
                                                                          G. Michael Harvey
                                                                          2020.10.19 11:53:20
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                                                      ____________________________________
                                                      UNITED STATES MAGISTRATE JUDGE




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Case    1:22-pr-09999-UNA
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                       *SEALED*    16-1 Filed
                                Document      05/11/22
                                          9 Filed      PagePage
                                                  10/19/20  77 of577
                                                                   of 5




                           ATTACHMENT A
